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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                4:11CR41
                                               )
              v.                               )
                                               )   FINDINGS, RECOMMENDATION
VICTOR S. ZUNIGA-VALENCIA,                     )           AND ORDER
                                               )
                     Defendant.                )

       Defendant Victor S. Zuniga-Valencia (“Zuniga-Valencia”) has filed a motion to
suppress evidence obtained as a result of a search of his pick-up, (filing no. 30). For the
reasons set forth below, the motion should be denied.


                                  STATEMENT OF FACTS


       On January 7, 2011, Nebraska State Patrol Trooper Paul Hazard (“Trooper Hazard”)
was on patrol in Kearney, Nebraska. At Approximately 10:15 p.m. Trooper Hazard was
traveling northbound on Avenue F and observed two vehicles parked on a small access road
between two rows of storage units. The vehicles were parked next to each other with their
headlights on. The vehicles were aligned parallel to one another, with one facing Avenue F
and the other facing the opposite direction.


       Trooper Hazard drove past the access road and turned his vehicle around to
investigate. Trooper Hazard activated his in-car camera and pulled onto the access road
between the storage units. He observed that the vehicle facing him was a white Dodge pick-
up truck and the other vehicle was a green Nissan Maxima passenger car. He noticed that the
driver’s side window on the pick-up was rolled down.
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       Trooper Hazard believed the green Nissan was owned by Terry Howard (“Howard”).
Trooper Hazard testified he was familiar with Howard from previous traffic stops and from
recent intelligence briefings. Trooper Hazard stated:


       I’ve had numerous contacts with Terry Howard. I’ve been - I’ve been present
       in numerous intelligence briefings regarding the distribution of narcotics. My
       first encounter with Terry Howard was on a traffic stop in which it was later
       found that 17 grams of methamphetamine was thrown from a window, and I
       did not locate it. The second traffic stop I had with Terry Howard I arrested the
       driver - or the passenger of his vehicle which was the green Nissan and
       conversed with Terry at that time as well. And then I was also - it would have
       just been a few previous days - a few days prior to this contact with Terry
       Howard, I was provided with information that Terry Howard’s vehicle and
       Terry Howard was observed by law enforcement, specifically drug
       investigators, at known or suspected drug houses or narcotics houses, that his
       name was coming up frequently in the distribution, specifically of
       methamphetamines.


Filing No. 52, Tr. 9:7-22.


       As Trooper Hazard entered the access road, the white pick-up truck began to pull
forward with the driver apparently trying to position the pick-up with the truck bed facing one
of the storage units. Trooper Hazard also witnessed an individual he identified as Howard
exit the green Nissan and begin opening one of the storage units. Trooper Hazard stopped
and exited his patrol car. He approached the driver of the white pick-up, who identified
himself as Zuniga-Valencia, and asked him what he and Howard were doing. Zuniga-
Valencia responded that he was helping Howard move some things. Trooper Hazard then
asked for identification from Zuniga-Valencia. Zuniga-Valencia asked if he could first move
the pick-up next to one of the storage units. Trooper Hazard agreed.




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       While waiting for Zuniga-Valencia to reposition the pick-up, Trooper Hazard engaged
Howard in a conversation. Trooper Hazard asked Howard what he was doing. Howard stated
that he and Zuniga-Valencia were attempting to move some furniture from Howard’s
girlfriend’s storage unit.   Trooper Hazard then asked for, and received, Howard’s
identification. Trooper Hazard returned to Zuniga-Valencia who provided Trooper Hazard
with a Mexican identification card.


       Trooper Hazard took Howard’s and Zuniga-Valencia’s identification cards back to his
patrol vehicle and instructed Howard to join him in the front of the patrol car.   Trooper
Hazard ran a background check on the respective identification cards. While Howard was
sitting in the patrol car, Trooper Hazard ran a license and warrants check and questioned
Howard about whether he was involved in any drug activity. While waiting for information
from dispatch, Trooper Hazard told Howard that what Howard and Zuniga-Valencia were
doing looked suspicious and that Howard’s name “had started to come up in the game again.”
Trooper Hazard again stated he was suspicious because Howard and Zuniga-Valencia were
parked in a poorly lit area between two storage units and did not appear to be attempting to
move anything until they saw Trooper Hazard pull into the access road. He asked Howard
if he had any drugs with him or in his car. Howard replied that he did not.


       After receiving the warrant and criminal history information back from dispatch
Trooper Hazard asked Howard if he had anything illegal with him or in his car. Howard
again replied that he did not. Trooper Hazard sought consent to search Howard’s car, but
Howard denied this request. Trooper Hazard then called for service dog unit to conduct a
canine sniff of the vehicles and informed Howard he would be detained until the canine sniff
was completed.




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       Trooper Hazard exited the patrol car and asked for Zuniga-Valencia’s date of birth,
and after patting down Howard, asked Zuniga-Valencia if he had any illegal substances, guns
or stolen property in his vehicle and requested permission to search the pick-up. Zuniga-
Valencia did not grant consent to search the vehicle. Trooper Hazard stated he was going to
detain Zuniga-Valencia while a canine sniff was conducted. Trooper Hazard patted Zuniga-
Valencia down and instructed him to sit in the front seat of his patrol car while Trooper
Hazard sought additional information about Zuniga-Valencia from dispatch.


       Approximately fourteen (14) minutes after Trooper Hazard initially contacted Zuniga-
Valencia and Howard, a canine unit arrived and Officer Benson of the Kearney Police
Department led the service dog in a canine sniff around the exterior of both vehicles. Officer
Benson informed Trooper Hazard that the service dog made positive indications for narcotics
on the pick-up and the green Nissan. Trooper Hazard conducted a search of both vehicles and
eventually found approximately six (6) ounces of methamphetamine in Zuniga-Valencia’s
pick-up. Zuniga-Valenica and Howard were arrested and transported to the police station.
Zuniga-Valencia made incriminating statements when later questioned by law enforcement
officers.


                                      LEGAL ANALYSIS


       Zuniga-Valencia argues the methamphetamine removed from his pick-up and his
subsequent incriminating statements should be suppressed because he was detained without
the requisite reasonable suspicion.




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       Detention


       The court must determine the threshold issue of when the detention began;
specifically, whether Trooper Hazard had reasonable suspicion that the defendant was
involved in criminal activity as of the time he detained the defendant. Zuniga-Valencia
argued at the evidentiary hearing that he was detained as soon as Trooper Hazard received and
retained Zuniga-Valencia’s identification card. The government claims Zuniga-Valencia was
not detained until he denied consent to search his pick-up and Trooper Hazard informed him
he could not leave until the canine sniff was completed.


       A fourth amendment seizure of an individual occurs when governmental
       authorities “by means of physical force or show of authority ... restrain[ ] the
       liberty of a citizen.” Terry, 392 U.S. at 19 n. 16, 88 S.Ct. at 1879 n. 16. Stated
       another way, “the police can be said to have seized an individual ‘only if, in
       view of all the circumstances surrounding the incident, a reasonable person
       would have believed that he was not free to leave.’ ” Michigan v. Chesternut,
       486 U.S. 567, 573, 108 S.Ct. 1975, 1979, 100 L.Ed.2d 565 (1988) (quoting
       United States v. Mendenhall, 446 U.S. 544, 554, 100 S.Ct. 1870, 1877, 64
       L.Ed.2d 497 (1980) (plurality)).


United States v. Jefferson, 906 F.2d 346, 348-49 (8th Cir. 1990).


       Whether a seizure has occurred is determined on a case-by-case basis because “[n]o
litmus-paper test exists for distinguishing a consensual encounter from a seizure.” United
States v. Ninety One Thousand Nine Hundred Sixty Dollars, 897 F.2d 1457, 1461 (8th Cir.
1990). Factors the court may consider include: “the presence of several officers, the display
of weapons by officers, physical touching, the use of language or intonation indicating
compliance is necessary, the officer’s retention of the person’s property, or an officer’s
indication that the person is the focus of a particular investigation.” United States v. Johnson,
326 F.3d 1018, 1022 (8th Cir. 2003) (internal citations omitted); see also Jefferson, 906 F.2d


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at 350 (finding a person would not feel free to leave when a law enforcement officer retains
the person’s identification card and car rental agreement and questioned the defendant in the
officer’s patrol car).




       The video of the encounter reveals several of the above referenced factors weigh in
favor of Zuniga-Valencia’s argument. For instance, Trooper Hazard arrived in his marked
patrol car, was in his law enforcement uniform, and his weapon was in plain view. Likewise,
Trooper Hazard’s “request” for Zuniga-Valencia’s identification card did not appear to
provide Zuniga-Valencia with the option of refusing. Indeed, a reasonable person in Zuniga-
Valencia’s position would have understood the request to mean that if he was in possession
of an identification card, Trooper Hazard was demanding his compliance.


       Most importantly, once Zuniga-Valencia provided his identification card to Trooper
Hazard, Trooper Hazard retained possession of it while he questioned Howard in his patrol
car for several minutes. No reasonable person would have felt free to leave with a law
enforcement officer in possession of his identification card and while the officer was
questioning his companion in the patrol car. See Jefferson, 906 F.2d at 350; see also United
States v. Villa-Gonzalez, 623 F.3d 526, 533-34 (8th Cir. 2010)(finding “[w]ithout his
identification card, a reasonable person is much less likely to believe he can simply terminate
a police encounter”). Thus, despite Trooper Hazard’s characterization of the initial contact
as “consensual,” Zuniga-Valencia was detained as soon as he surrendered his identification
card to Trooper Hazard and the detention continued while Trooper Hazard retained the
license.




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       Reasonable Suspicion


       Having found Zuniga-Valencia was seized for the purposes of the Fourth Amendment
shortly after he was contacted by Trooper Hazard, the court must determine if the detention
was supported by reasonable suspicion.


       Law enforcement officers may briefly detain an individual and “conduct a brief
investigative stop when they have reasonable, articulable suspicion that a person is
committing or is about to commit a crime.” United States v. Horton, 611 F.3d 936, 940 (8th
Cir. 2010)(citing Terry v. Ohio, 392 U.S. 1, 21 (1968)).


       In considering the reasonableness of an officer's suspicion, “we must determine
       whether the facts collectively provide a basis for reasonable suspicion, rather
       than determine whether each fact separately establishes such a basis.” United
       States v. Stachowiak, 521 F.3d 852, 856 (8th Cir.2008); see also United States
       v. Arvizu, 534 U.S. 266, 274, 122 S.Ct. 744, 151 L.Ed.2d 740 (2002). To be
       reasonable, suspicion must be based on “specific and articulable facts” that are
       “taken together with rational inferences from those facts”—that is, something
       more than an “inchoate and unparticularized suspicion or ‘hunch.’ ” Terry, 392
       U.S. at 21, 29, 88 S.Ct. 1868; see also Long, 463 U.S. at 1049, 103 S.Ct. 3469.
       “The behavior on which reasonable suspicion is grounded ... need not establish
       that the suspect is probably guilty of a crime or eliminate innocent
       interpretations of the circumstances.” Carpenter, 462 F.3d at 986. Thus, factors
       that individually may be consistent with innocent behavior, when taken
       together, can give rise to reasonable suspicion, even though some persons
       exhibiting those factors will be innocent. Id.; see also Arvizu, 534 U.S. at 277,
       122 S.Ct. 744. “This process allows officers to draw on their own experience
       and specialized training to make inferences from and deductions about the
       cumulative information available to them that ‘might well elude an untrained
       person.’ ” Arvizu, 534 U.S. at 273, 122 S.Ct. 744 (quoting United States v.
       Cortez, 449 U.S. 411, 418, 101 S.Ct. 690, 66 L.Ed.2d 621 (1981)).


United States v. Stewart, 631 F.3d 453, 457 (8th Cir. 2011).



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       Reasonable suspicion must be specific to the individual who is subject to the search
or seizure. That is, “‘mere propinquity’ . . . to another who is ‘independently suspected of
criminal activity does not, without more, give rise to probable cause to search . . . . ’ ” United
States v. Valle Cruz, 452 F.3d 698, 704 (8th Cir. 2006) (quoting Ybarra v. Illinois, 444 U.S
85, 91 (1979)); see also United States v. Owens, 101 F.3d 559, 562 n. 2 (8th Cir. 1996)
(applying the “mere propinquity” principle to a reasonable suspicion analysis). Although
companionship alone does not justify a detention, it is one factor to be considered in the
totality of the circumstances. See, e.g., United States v. Flett, 806 F.2d 823, 827-28 (8th Cir.
1986)(rejecting the “automatic companion” rule in disallowing the cursory pat-down search
of any companion of an individual independently suspected of criminal activity but noting
companionship can be considered in the totality of the circumstances).


       Where an individual is witnessed interacting in a suspicious manner with a person
suspected of illegal activity, an experienced officer may draw reasonable inferences from the
facts and find reasonable suspicion to detain the individual. See United States v. Bustos-
Torres, 396 F.3d 935, 943 (8th Cir. 2005). In Bustos-Torres, a law enforcement officer was
conducting surveillance on a tavern on a matter unrelated to narcotics trafficking. While he
was watching the tavern, he noticed a car arrive and a man leave the bar and conduct what the
law enforcement officer believed to be a drug transaction. The car left the premises and the
law enforcement officer witnessed a second car arrive. The same individual left the bar and
this time entered the second car. The law enforcement officer could not see what occurred
in the vehicle, but after a few minutes the man from the tavern exited the car, and the car left
the parking lot. The law enforcement officer then conducted a Terry stop of the vehicle,
driven by Bustos-Torres, and discovered drugs and a substantial amount of cash.


       The question presented to the court was whether the law enforcement officer had
reasonable suspicion to conduct an investigatory stop of Bustos-Torres’ car. The court noted


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that because the officer observed the first transaction, which he clearly believed was a drug
deal, the stop of Bustos-Torres was not based on a mere hunch, but on a reasonable inference
drawn from the officer’s narcotics experience. Bustos-Torres, 396 F.3d at 943. The officer
was able to “point to the location and the first transaction as the articulable facts giving rise
to his suspicion.” Id.; see also United States v. Blaylock, 421 F.3d 758, 768-69 (8th Cir.
2005)(permitting the detention of an individual and search of a vehicle based solely on the
suspicious behavior of a passenger in his car even though conduct of the defendant, “when
viewed in a vacuum, would not have provided the requisite reasonable suspicion”); United
States v. Spotts, 275 F.3d 714, 720, 719 (8th Cir. 2002)(finding reasonable suspicion to stop
a truck because it stopped in front of and later drove by a house in which police had probable
cause to suspect drug transactions took place); United States v. Harvey, 897 F.2d 1300, 1303
(5th Cir. 1990)(overruled in part on other grounds)(holding law enforcement officers had
reasonable suspicion to detain an individual merely because he pulled up to a suspected drug
house during a police search).


       In this case, based on the totality of the circumstances, Trooper Hazard had the
requisite reasonable suspicion to briefly detain Zuniga-Valencia. At the time he detained
Zuniga-Valencia, Trooper Hazard was aware of the following facts: 1) Zuniga-Valencia and
Howard were parked side by side, facing different directions, between storage units at 10:00
p.m.; 2) the storage facility was otherwise deserted; 3) Zuniga-Valencia and Howard appeared
to be interacting while sitting in their vehicles; 4) Zuniga-Valencia and Hooper did not appear
to be in the process of loading or unloading a storage unit until Trooper Hazard pulled into
the access road where they were parked; 5) Zuniga-Valencia and Howard told Trooper Hazard
they were at the unit together; 6) Trooper Hazard was aware Howard had a criminal history
involving drugs and burglary; and 7) Trooper Hazard was also aware of recent intelligence
reports that Howard was distributing methamphetamine.1

       1
           At the suppression hearing Trooper Hazard also testified Howard became nervous when

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       Zuniga-Valencia argues no reasonable suspicion existed for his detention because he
was in “mere propinquity” with Howard. This assertion belies the facts as they were known
to Trooper Hazard at the time of the investigatory stop. Through the initial contact with
Zuniga-Valencia, Trooper Hazard established that Zuniga-Valencia was not at the storage unit
facility by mere happenstance or that his purpose for being present was unrelated to Howard.
Rather, Zuninga-Valencia readily acknowledged that he was there with Howard – a suspected
methamphetamine dealer.


       Moreover, in addition to his association with Howard, Zuniga-Valencia’s presence was
accompanied by suspicious circumstances and conditions. Trooper Hazard witnessed the two
men interacting in what Trooper Hazard deemed, based on his experience, a questionable
manner. That is, they were parked next to each other in a poorly lit, deserted storage unit
facility late at night. They did not appear to be engaged in loading or unloading any of the
units. Of particular note, Trooper Hazard testified Zuniga-Valencia and Howard appeared to
be interacting when Trooper Hazard arrived at the storage unit facility access road, and did
not take any action consistent with unloading a storage facility until they saw Trooper
Hazard’s patrol car. The video of the stop confirms this version of events, showing Howard
exiting his car and starting to open a storage unit, while Zuniga-Valencia began to reposition
his truck as soon as Trooper Hazard’s patrol car pulled down the access road. (Ex. 1).


       Trooper Hazard explained the significance of Zuniga-Valencia’s actions as follows:


Trooper Hazard questioned him about drugs. However, this questioning occurred after Zuniga-
Valencia was detained. Howard’s post detention behavior could not serve as a basis relied upon by
Trooper Hazard for the initial detention of Zuniga-Valencia. See, e.g., United States v. Davis, 202
F.3d 1060, 1062 (8th Cir. 2000)(“conduct after an investigative stop begins cannot supply the
reasonable suspicion needed to justify the stop”).

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       Through not only my training, but my experience, it would be - it would be -
       it happens frequently that I could contact somebody while they’re engaged in
       some sort of criminal activity. And as soon as law enforcement is observed or
       as soon as I contact them as law enforcement, the criminal activity changes to
       an actual legitimate form of daily business or an actual legitimate activity. And
       I compare that a lot of times to narcotics activity happening in a parking lot of
       Wal- Mart. Once law enforcement is observed, they’ll exit their vehicles and
       they’ll go into Wal-Mart.


Filing No. 52, Tr. 18:9-18. Indeed, “[f]actors that may reasonably lead to an experienced
officer to investigate include time of day or night, location of the suspect parties, and the
parties’ behavior when they become aware of the officer’s presence.” United States v.
Dawdy, 46 F.3d 1427, 1428 (8th Cir. 1995).


       In light of the totality of facts known to Trooper Hazard at the time of the detention,
this case is readily distinguishable from those in which reasonable suspicion was not
established because the defendant was in "mere propinquity" with someone engaged in
suspicious activity. Compare Bustos-Torres, 396 F.3d at 943 (reasonable suspicion where
the law enforcement officers established a connection between the defendant and a suspected
drug dealer) with Ybarra, 444 U.S. at 91 (no reasonable suspicion to search a patron of a bar
where an warrant was being executed); United States v. Clay, 640 F.2d 157, 160 (8th Cir.
1981) (no reasonable suspicion to perform a pat down of an individual who approached a
house where a search warrant was being executed). Based on the specific, articulable facts
known to Trooper Hazard at the time of the detention, Trooper Hazard possessed the requisite
reasonable suspicion to detain Zuniga-Valencia.2



       2
           Because Trooper Hazard’s detention of Zuniga-Valencia was lawful, the court need not
address Zuniga-Valencia’s arguments regarding suppression of his incriminating post-arrest
statements as fruit of the alleged Fourth Amendment violation.

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      IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Warren K.
Urbom, United States District Judge, pursuant to 28 U.S.C. § 636(b), that the motion to
suppress filed by Victor Zuniga-Valencia, (filing no. 30), be denied in all respects.

        The parties are notified that failing to file an objection to this recommendation as
provided in the local rules of this court may be held to be a waiver of any right to appeal the
court's adoption of the recommendation.

       IT IS FURTHER ORDERED:

       1)      The trial of this case is set to commence before the Honorable Warren K.
               Urbom at 9:00 a.m. on July 11, 2011, or as soon thereafter as the case may be
               called, for a duration of three (3) trial days, in Courtroom 4, United States
               Courthouse, Lincoln, Nebraska. Jury selection will be held at commencement
               of trial.

       2)      A conference with counsel for the parties will be held before Judge Urbom in
               his chambers beginning at 8:30 a.m. on July 11, 2011.

       DATED this 3rd day of June, 2011.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge




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